Case 1:17-cr-00121-MAC-ZJH           Document 124         Filed 01/31/18    Page 1 of 1 PageID #:
                                            320




 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                           §
                                                    §
 versus                                             §   CASE NO.1:17cr121
                                                    §
 CHRISTOPHER LOUIS ARELLANO                         §


      MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

          The Court referred this matter to the United States Magistrate Judge Keith F. Giblin for

 the administration of a guilty plea hearing. Judge Giblin conducted a hearing and issued his

 findings of fact and report and recommendation on the defendant’s guilty plea. The magistrate

 judge recommended that the Court accept defendant’s guilty plea. He further recommended that

 the Court finally adjudge defendant as guilty on Count One of the Indictment. The parties have

 not objected to the magistrate judge’s findings.

          The Court accepts the findings in the report and recommendation. The Court ORDERS

 that Judge Giblin’s report (#112) is adopted. The Court accepts the defendant’s guilty plea but

 defers acceptance of the plea agreement and plea agreement addendum until after review of the

 presentence report. It is finally ORDERED that defendant, Christopher Louis Arellano, is

 adjudged guilty on Count One of the Indictment charging a violation of Title 21, United States
       .
 Code, Section 846.
       SIGNED at Beaumont, Texas, this 7th day of September, 2004.
       SIGNED at Beaumont, Texas, this 31st day of January, 2018.




                                          ________________________________________
                                                      MARCIA A. CRONE
                                               UNITED STATES DISTRICT JUDGE
